               IN THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA

LARADA SCIENCES, INC.          )
                               )
     Plaintiff,                )
                               )
v.                             )             CIVIL ACTION FILE NO.
                               )             3:18-cv-320
PEDIATRIC HAIR SOLUTIONS       )
CORPORATION, AND FLOSONIX )
VENTURES, LLC                  )
                               )
     Defendants.               )
_______________________________)

                                   COMPLAINT

      Comes now Plaintiff Larada Sciences, Inc. and files this complaint against

Defendants Pediatric Hair Solutions Corporation (“PHS”) and FloSonix Ventures,

LLC (“FloSonix”), and alleges as follows:

                                     PARTIES

      1.     Plaintiff Larada Sciences, Inc. (“Larada”) is a corporation organized

under the laws of the State of Delaware, with its principal place of business at 154

East Myrtle Avenue, Suite 304, Murray, Utah 84107.

      2.     Defendant PHS is a North Carolina company with a principal place of

business at 6923 Shannon Willow Road., Suite 100, Charlotte, North Carolina

28226.




         Case 3:18-cv-00320-GCM Document 1 Filed 06/20/18 Page 1 of 26
      3.     Defendant FloSonix is a Wyoming company with a principal place of

business at 6923 Shannon Willow Road, Suite 100, Charlotte, North Carolina

28226.

                             JURISDICTION AND VENUE

      4.     This is an action for patent infringement arising under the patent laws

of the United States, 35 U.S.C. § 1 et seq.

      5.     This Court has jurisdiction over the subject matter of this action

pursuant to 28 U.S.C. §§ 1331 and 1338(a).

      6.     This Court has jurisdiction over PHS because PHS has its principal

place of business in this District.

      7.     This Court has jurisdiction over FloSonix because FloSonix has its

principal place of business in this District.

      8.     Venue as to PHS is proper in this District pursuant to 28 U.S.C.

§1400(b) because PHS resides in this District, has a regular and established place

of business in this District, and has committed acts of infringement in this District.

Those acts of infringement include practicing and inducing the practicing of

methods that infringe the Patents-in-Suit, and by making, using, offering to sell,

selling, and/or having sold a device that infringes the Patents-in-Suit.




                                     2
         Case 3:18-cv-00320-GCM Document 1 Filed 06/20/18 Page 2 of 26
      9.     Venue as to FloSonix is proper in this District pursuant to 28 U.S.C.

§1400(b) because FloSonix has a regular and established place of business in this

District and has committed acts of infringement in this District. Those acts of

infringement include practicing and inducing the practicing of methods that

infringe the Patents-in-Suit, and by making, using, offering to sell, selling, and/or

having sold a device that infringes the Patents-in-Suit.

      10.    Joinder of Defendants in this suit is proper under 35 U.S.C. § 299

because Defendants’ acts of infringement are based on the making, using,

importing into the United States, offering for sale, or selling of the same accused

product or process – namely the FloSonix device – and that questions of fact

common to all Defendants will arise in this action, including whether making,

using, offering to sell, selling, and/or having sold the FloSonix device constitutes

direct or indirect infringement of the Patents-in-Suit.

                               THE PATENTS-IN-SUIT

      11.    United States Patent Number 7,789,902 (“the ‘902 Patent”) is entitled

“Ectoparasite Eradication Method and Device.” The ‘902 Patent was filed on

November 23, 2005, and was duly and legally issued by the United States Patent

and Trademark Office on September 7, 2010. The ‘902 Patent is assigned to the

University of Utah Research Foundation, and Larada has an exclusive license to



                                    3
        Case 3:18-cv-00320-GCM Document 1 Filed 06/20/18 Page 3 of 26
the ‘902 Patent, including the right to enforce for past, present, and future

infringement. A true and correct copy of the ‘902 Patent is attached hereto as

Exhibit A.

      12.    United States Patent Number 8,162,999 (“the ‘999 Patent”) is entitled

“Ectoparasite Eradication Method and Device.” The ‘999 Patent was filed on

September 3, 2010, and was duly and legally issued by the United States Patent

and Trademark Office on April 24, 2012. The ‘999 Patent is assigned to the

University of Utah Research Foundation, and Larada has an exclusive license to

the ‘999 Patent, including the right to enforce for past, present, and future

infringement. A true and correct copy of the ‘999 Patent is attached hereto as

Exhibit B.

      13.    United States Patent Number 8,475,510 (“the ‘510 Patent”) is entitled

“Airflow applicators and related treatment methods.” The ‘510 Patent was filed on

September 23, 2009, and was duly and legally issued by the United States Patent

and Trademark Office on July 2, 2013. Larada is the owner of all right and title to

the ‘510 Patent. A true and correct copy of the ‘510 Patent is attached hereto as

Exhibit C.

      14.    United States Design Patent Number D626,287 (“the D287 Patent”) is

entitled “Airflow attachment.” The D287 Patent was filed on September 23, 2009


                                    4
        Case 3:18-cv-00320-GCM Document 1 Filed 06/20/18 Page 4 of 26
and was duly and legally issued by the United States Patent and Trademark Office

on October 26, 2010. Larada is the owner of all right and title to the D287 Patent.

A true and correct copy of the D287 Patent is attached hereto as Exhibit D.

      15.    Larada has, to the extent required, complied with the marking

provisions of 35 U.S.C. § 287 for all time periods relevant to PHS’s infringement

of the ‘902 Patent, the ‘999 Patent, the ‘510 Patent, and the D287 Patent

(collectively, “the Patents-in-Suit”).

                    THE AIRALLÉ LICE ERADICATION DEVICE

      16.    The Patents-in-Suit relate to methods and devices for eliminating

ectoparasites, such as head lice.

      17.    A head lice infestation can be difficult to treat. Traditionally, removal

of head lice (and their eggs) involved a time-intensive and tedious manual process

using a louse comb to remove lice and their eggs from an individual’s hair.

Chemical treatments exist, but can be undesirable because lice have developed a

resistance to many such treatments, and because these treatments involve

pesticides that many people do not want to apply to their bodies.

      18.    Researchers at the University of Utah, including Dale H. Clayton,

Ph.D., the first inventor named on the ‘902 and ‘999 Patents, developed methods

involving heating air to a certain temperature and applying the heated air to a



                                    5
        Case 3:18-cv-00320-GCM Document 1 Filed 06/20/18 Page 5 of 26
human head to effectively eliminate lice infestations without the use of chemicals.

The researchers also developed a device called the “LouseBuster” to carry out

these methods.

      19.    Larada was formed in 2006 to bring the LouseBuster to market.

Larada obtained an exclusive license to the ‘902 and ‘999 Patents, including the

right to enforce the ‘902 and ‘999 Patents.

      20.    Through further research and development, Larada continued to refine

the LouseBuster and the techniques for using the device. This development led to

the ‘510 Patent and the D287 Patent.

      21.    Ultimately, the LouseBuster was renamed “AirAllé.”

      22.    Larada’s business model is to license to individuals and businesses the

rights to use AirAllé devices in performing lice treatments in an exclusive territory,

either under a license agreement or a franchise agreement. The license and

franchise agreements include training in, among other things, how to use the

AirAllé to perform the methods claimed in the ‘902 Patent, the ‘999 Patent, and the

‘510 Patent. Prior to signing license and franchise agreements, Larada’s business

model was to lease the AirAllé device to individuals and businesses wishing to

perform lice treatments using the device.




                                    6
        Case 3:18-cv-00320-GCM Document 1 Filed 06/20/18 Page 6 of 26
       23.    More than 250 license and franchise agreements currently allow

AirAllé devices to perform head lice treatments in the United States, with 200 U.S.

clinics actively treating head lice using the AirAllé device in exclusive territories.

       24.    The ‘902 Patent, the ‘999 Patent, and the ‘510 Patent reflect a novel

solution to the problem of treating lice infestations. It is not the case that simply

applying heated air to a head lice infestation can effectively treat lice. Rather, until

Dr. Clayton and his team at the University of Utah developed the LouseBuster and

the methods for treating lice claimed in the ‘902 Patent and the ‘999 Patent, and

then Larada further developed those methods as claimed in the ‘510 Patent, it was

generally understood that even though heated air had been shown to kill lice and

their eggs in vitro, these treatments were not effective in vivo. Only through the

novel and inventive methods that are described and claimed in the ‘902 and ‘999

Patents, and further improvements in the ‘510 Patent did it become possible to use

heated air to treat a lice infestation.

       25.    The claims of the ‘902 Patent, the ‘999 Patent, and the ‘510 Patent

recite a series of tangible steps directed to applying heated air in such a way as to

deliver the heated air at the proper angle and location so as to eradicate the lice

infestation. The claims of the ‘902 Patent and the ‘999 Patent require a certain

temperature range, and in some cases, a certain airflow, while the ‘510 Patent


                                    7
        Case 3:18-cv-00320-GCM Document 1 Filed 06/20/18 Page 7 of 26
requires use of an applicator with ports of a particular configuration. These

inventive methods are limited to applications of heated air involving specific

parameters (including temperature, volumetric airflow, and time of application)

that the inventors have determined as being effective to achieve the in vitro

eradication of lice infestations while being suitable for application to the scalp.

The specifications of the Patents-in-Suit include specific examples to illustrate the

accurate measurement of volumetric airflow rates according to the claimed

treatment methods. Certain of the inventive methods also involve the use of a

comb device to further increases lice mortality rates regardless of hair length. As

such, the claimed treatment elements of the ‘902 Patent, the ‘999 Patent, and the

‘510 Patent are sufficiently limited to ensure that the patents do not monopolize a

law of nature. Furthermore, the claims do not describe well-understood, routine, or

conventional activities. Rather, they claim techniques for the treatment of lice

infestations with heated air which—before the Patents-in-Suit and the

LouseBuster/AirAllé—was believed to be an ineffective approach to treating lice

infestations.




                                    8
        Case 3:18-cv-00320-GCM Document 1 Filed 06/20/18 Page 8 of 26
     PHS’S USE OF AND PRAISE FOR LARADA’S PATENTED TECHNOLOGY

      26.    At one time, PHS was one of the many businesses that Larada allowed

to use the AirAllé device in exclusive territories. Initially Larada did this through

lease agreements and later through license agreements.

      27.    Starting on November 16, 2010, PHS began leasing the AirAllé

device under a lease agreement. Beginning on August 31, 2015, PHS and Larada

converted that lease agreement to multiple license agreements, each for a specific

territory in which PHS had exclusive rights to use the AirAllé device. Along with

the lease and licensing rights to use the AirAllé device, PHS paid for the right to

receive Larada’s knowhow, the use of Larada’s trademarks to develop a lice

treatment business, and nationwide support from Larada as PHS built its business

from a single clinic to nine clinics when the license agreements were terminated on

March 10, 2017.

      28.    As early as March 29, 2012, PHS publicly praised the AirAllé device,

including a demonstration on local news that PHS reproduced on YouTube. PHS

displayed its logo over the video it showed on its website.

      29.    The YouTube video is available at

https://www.youtube.com/watch?v=5LEXrJnUb9w




                                    9
        Case 3:18-cv-00320-GCM Document 1 Filed 06/20/18 Page 9 of 26
      30.    In the video, PHS’s owner Sheila Fassler describes the AirAllé (then

still known as the LouseBuster), the process for using it, and the incredible results

the AirAllé was able to achieve. Ms. Fassler states “Within the last year the

LouseBuster device has been developed. I apply controlled warm air to the child’s

head in a sequential manner for about 30 minutes and it dehydrates everything.

Kills everything in the head. When the 30 minute treatment’s done, your problem

is done.”

      31.    Ms. Fassler goes on to describe how, before the AirAllé, there were

only two methods of treating lice: the use of harsh chemicals and manually

removing lice, nits, and eggs from the hair. Ms. Fassler describes the drawbacks

with those approaches and how the AirAllé solved those problems.

      32.    Ms. Fassler states: “The toxins and pesticides that they sell at the drug

store and the big superstores, their efficiency has gotten much less because the lice

have developed a resistance. The other option would be to have someone come

into your home or you as a parent pick through the hair for hours over a three week

period of time until you pick every miniscule egg out of your child’s head.”

      33.    Ms. Fassler then goes on to praise the AirAllé. She says: “The

LouseBuster is 99.2 percent effective. No other treatment can claim that. They

leave the .8 percent for human error.”


                                   10
       Case 3:18-cv-00320-GCM Document 1 Filed 06/20/18 Page 10 of 26
      34.    The segment goes on to report that “This non-toxic treatment is 100

percent effective with no side effects.”

      35.    Ms. Fassler describes treatment with the AirAllé as “a permanent

solution.”

DEFENDANTS’ WILLFUL INFRINGEMENT OF THE PATENTS-IN-SUIT

      36.    Through correspondence with Larada, including the lease agreement

and license agreements through which PHS purchased the ability to use the

AirAllé, PHS had knowledge of the Patents-in-Suit.

      37.    On March 10, 2017, Larada terminated PHS’s license agreements for

breach after PHS failed since January 2017 to pay fees related to the use of the

AirAllé device. Although PHS was required to return all of its 25 AirAllé devices

within five business days of termination, PHS did not return all the devices until

May 2017.

      38.    Shortly thereafter, Larada discovered that PHS was advertising the use

of a very similar device to AirAllé on its website, which PHS calls the FloSonix.

Below is a true and correct copy of an image from the PHS website showing the

FloSonix device in use.




                                   11
       Case 3:18-cv-00320-GCM Document 1 Filed 06/20/18 Page 11 of 26
      39.    On information and belief, Defendants copied the AirAllé device,

including its patented features, to create the FloSonix device. Defendants also use

the FloSonix device to infringe the methods claimed in the Patents-in-Suit.

Defendants also, through the sale of the FloSonix device and instruction and

training of customers, contribute to and induce infringement of the Patents-in-Suit.

      40.    On information and belief, Defendant FloSonix shares officers and

employees with Defendant PHS, and thus has knowledge of the Patents-in-Suit and

that the use of the FloSonix device as instructed constitutes infringement of the

methods claimed therein.




                                   12
       Case 3:18-cv-00320-GCM Document 1 Filed 06/20/18 Page 12 of 26
                          FIRST CLAIM FOR RELIEF
                 Infringement of United States Patent No. 7,789,902

       41.    Larada repeats and realleges the allegations of paragraphs 1-40 above,

as if fully set forth herein.

       42.    Defendants have directly infringed and are still directly infringing the

‘902 Patent by using the FloSonix device to perform the methods of at least claim

1 of the ‘902 Patent. On information and belief, Defendant PHS uses the FloSonix

device in its clinics for treating individuals with head lice infestations to infringe

the ‘902 Patent. On information and belief, Defendant FloSonix uses the FloSonix

device, at least in testing, marketing, and demonstrations to potential customers to

infringe the ‘902 Patent.

       43.    Defendants have actively induced the infringement of the ‘902 Patent

by selling, leasing or otherwise providing the FloSonix device to customers, and by

providing training and/or instruction in its use, with knowledge of the Patents-in-

Suit and the specific intent of encouraging, aiding, or causing others to directly

infringe the ‘902 Patent.

       44.    Defendants have contributed to the infringement of others by selling,

leasing or otherwise providing to others the FloSonix device, which is a device

especially made or adapted for use in performing the methods of the ‘902 Patent,

the use of which is a material part of the claimed invention, and which is not a

                                    13
        Case 3:18-cv-00320-GCM Document 1 Filed 06/20/18 Page 13 of 26
staple article suitable for substantial non-infringing use. Defendants’ customers

then use the FloSonix device to perform the methods of at least claim 1 of the ‘902

Patent.

      45.      For example, with respect to Claim 1 of the ‘902 Patent, Defendants

perform, and instruct their customers to perform, the following steps with the

FloSonix device to eliminate an ectoparasite infestation in such a way that results

in infringement of the ‘902 Patent:

            a. Defining a target area on a patient having an ectoparasite infestation,

               said target area including the patient’s hair and scalp.

            b. Using the FloSonix device to heat a volume of air to a temperature to

               form heated air at a temperature of from, on information and belief,

               about 54° C to about 65° C.

            c. Using the FloSonix device to apply the heated air to the target area

               with an airflow of from, on information and belief, about 25 cfm to

               about 125 cfm, such that the heated air impinges directly on

               substantially all ectoparasites located within the target area, and

               wherein the heated air is applied directly to the patient’s hair and scalp

               such that at least a substantial portion of the heated air is forced

               directly at the patient’s scalp from the FloSonix device.


                                      14
          Case 3:18-cv-00320-GCM Document 1 Filed 06/20/18 Page 14 of 26
             d. Using the FloSonix device to maintain the heated air at the target area

                for a period of time and at a sufficient airflow to affect an ectoparasite

                mortality rate of at least 50%.

       46.      Defendants’ acts of infringement were done with knowledge of the

Patents-in-Suit, in willful and reckless disregard that Defendants’ acts constituted

infringement of Larada’s patent rights as embodied in the Patents-in-Suit.

       47.      Defendants’ willful infringement of the ‘902 Patent has caused and

will continue to cause Larada significant harm.

                          SECOND CLAIM FOR RELIEF
                  Infringement of United States Patent No. 8,162,999

       48.      Larada repeats and realleges the allegations of paragraphs 1-47 above,

as if fully set forth herein.

       49.      PHS has directly infringed and is still directly infringing the ‘999

Patent by using the FloSonix device to perform the methods of at least claim 1 of

the ‘999 Patent. On information and belief, Defendant PHS uses the FloSonix

device in its clinics for treating individuals with head lice infestations to infringe

the ‘999 Patent. On information and belief, Defendant FloSonix uses the FloSonix

device, at least in testing, marketing, and demonstrations to potential customers to

infringe the ‘999 Patent.



                                    15
        Case 3:18-cv-00320-GCM Document 1 Filed 06/20/18 Page 15 of 26
      50.      Defendants have actively induced the infringement of the ‘999 Patent

by selling, leasing or otherwise providing FloSonix device to customers, and by

providing training and/or instruction in its use, with knowledge of the Patents-in-

Suit and the specific intent of encouraging, aiding, or causing others to directly

infringe the ‘999 Patent. Defendants’ customers then use the FloSonix device to

perform the methods of at least claim 1 of the ‘999 Patent.

      51.      Defendants have contributed to the infringement of others by selling,

leasing or otherwise providing to others the FloSonix device, which is a device

especially made or adapted for use in performing the methods of the ‘999 Patent,

the use of which is a material part of the claimed invention, and which is not a

staple article suitable for substantial non-infringing use. Defendants’ customers

then use the FloSonix device to perform the methods of at least claim 1 of the ‘999

Patent.

      52.      For example, with respect to Claim 1 of the ‘999 Patent, Defendants

perform, and then instruct their customers to perform, the following steps with the

FloSonix device to eliminate an ectoparasite infestation in such a way that results

in infringement of the ‘999 Patent:

            a. Defining a target area on a patient having an ectoparasite infestation,

               said target area including the patient’s hair and scalp;


                                      16
          Case 3:18-cv-00320-GCM Document 1 Filed 06/20/18 Page 16 of 26
            b. Using the FloSonix device to heat a volume of air to a temperature to

               form heated air at a temperature of from, on information and belief,

               about 54° C. to about 65° C.

            c. Using the FloSonix device to apply the heated air to the target area

               with an airflow such that the heated air impinges directly on

               substantially all ectoparasites located within the target area, and

               wherein the heated air is applied directly to the patient’s hair and scalp

               such that at least a substantial portion of the heated air is forced

               directly at and directly contacts the patient’s scalp from a device for

               delivering the heated air.

            d. Using the FloSonix device to maintain the heated air at the target area

               for a period of time and at a sufficient airflow to affect an ectoparasite

               mortality rate of at least 50%.

      53.      Defendants acts of infringement were done with knowledge of the

Patents-in-Suit, in willful and reckless disregard that Defendants’ acts constituted

infringement of Larada’s patent rights as embodied in the Patents-in-Suit.

      54.      Defendants’ willful infringement of the ‘999 Patent has caused and

will continue to cause Larada significant harm.




                                   17
       Case 3:18-cv-00320-GCM Document 1 Filed 06/20/18 Page 17 of 26
                          THIRD CLAIM FOR RELIEF
                 Infringement of United States Patent No. 8,475,510

       55.    Larada repeats and realleges the allegations of paragraphs 1-54 above,

as if fully set forth herein.

       56.    Defendants have directly infringed and are still directly infringing the

‘510 Patent by using the FloSonix device to perform the methods of at least claim

1 of the ‘510 Patent. On information and belief, Defendant PHS uses the FloSonix

device in its clinics for treating individuals with head lice infestations to infringe

the ‘510 Patent. On information and belief, Defendant FloSonix uses the FloSonix

device, at least in testing, marketing, and demonstrations to potential customers to

infringe the ‘510 Patent.

       57.    Defendants have actively induced the infringement of the ‘510 Patent

by selling, leasing or otherwise providing FloSonix device to customers, and by

providing training and/or instruction in its use, with knowledge of the Patents-in-

Suit and the specific intent of encouraging, aiding, or causing others to directly

infringe the ‘510 Patent. Defendants’ customers then use the FloSonix device to

perform the methods of at least claim 1 of the ‘510 Patent.

       58.    Defendants have contributed to the infringement of others by selling,

leasing or otherwise providing to others the FloSonix device, which is a device

especially made or adapted for use in performing the methods of the ‘510 Patent,

                                    18
        Case 3:18-cv-00320-GCM Document 1 Filed 06/20/18 Page 18 of 26
the use of which is a material part of the claimed invention, and which is not a

staple article suitable for substantial non-infringing use. Defendants’ customers

then use the FloSonix device to perform the methods of at least claim 1 of the ‘510

Patent.

      59.      For example, with respect to Claim 1 of the ‘510 Patent, Defendants

perform, and instruct their customers to perform, the following steps with the

FloSonix device to eliminate an ectoparasite infestation in such a way that results

in infringement of the ‘510 Patent:

            a. Using a disposable applicator tip on the FloSonix device that

               comprises a plurality of elongated fingers, and wherein at least a

               subset of the plurality of elongated fingers comprise ports for

               delivering airflow, and wherein the applicator is configured for

               delivering heated airflow to a treatment site on the patient.

            b. Connecting the disposable applicator to a heated airflow source of the

               FloSonix device.

            c. Using the FloSonix device to deliver a heated airflow through the

               applicator to the treatment site to substantially eliminate the lice and

               lice eggs from the treatment site.

            d. Moving the applicator to a second treatment site.


                                      19
          Case 3:18-cv-00320-GCM Document 1 Filed 06/20/18 Page 19 of 26
            e. Using the FloSonix device to deliver a heated airflow through the

               applicator to the second treatment site to substantially eliminate the

               lice and lice eggs from the second treatment site.

            f. Using the FloSonix device to repeat the delivering and moving steps

               until substantially all lice and lice eggs have been eliminated.

            g. Removing at least a portion of the applicator from the FloSonix

               device.

            h. Disposing of at least a portion of the applicator.

            i. Connecting a second applicator to the FloSonix device, wherein at

               least a portion of the second applicator is disposable, and wherein the

               second applicator is configured for delivering airflow to a treatment

               site on the patient.

      60.      PHS’s acts of infringement were done with knowledge of the Patents-

in-Suit, in willful and reckless disregard that PHS’s acts constituted infringement

of Larada’s patent rights as embodied in the Patents-in-Suit.

      61.      PHS’s willful infringement of the ‘510 Patent has caused and will

continue to cause Larada significant harm.




                                   20
       Case 3:18-cv-00320-GCM Document 1 Filed 06/20/18 Page 20 of 26
                         FOURTH CLAIM FOR RELIEF
                 Infringement of United States Patent No. D626,287

       62.    Larada repeats and realleges the allegations of paragraphs 1-57 above,

as if fully set forth herein.

       63.    The D287 Patent is a design patent that covers the ornamental design

of the applicator tip of the AirAllé device.

       64.    Figures 1 and 2 of the D287 Patent (reproduced below) are

representative of the claimed design.




       65.    As shown below, the D287 Patent also relates to the applicator tip of

the AirAllé device that PHS leased from Larada.




                                    21
        Case 3:18-cv-00320-GCM Document 1 Filed 06/20/18 Page 21 of 26
                        Applicator Tip Of The AirAllé Device

      66.   As shown below, the applicator tip of the FloSonix device is a copy of

the ornamental design of the AirAllé.




                       Applicator Tip Of The FloSonix Device




                                   22
       Case 3:18-cv-00320-GCM Document 1 Filed 06/20/18 Page 22 of 26
      67.     As the following comparison shows, an ordinary observer familiar

with the prior art would believe that the applicator tip of the FloSonix device

appropriated the design claimed in the D287 Patent, and thus infringes the D287

Patent.




      68.     Defendants make, use, sell, offer to sell, and import the FloSonix

device, including the applicator tip, thus infringing the D287 Patent.

      69.     Defendants’ acts of infringement were done with knowledge of the

Patents-in-Suit, in willful and reckless disregard that Defendants’ acts constituted

infringement of Larada’s patent rights as embodied in the Patents-in-Suit.

      70.     Defendants’ willful infringement of the D287 Patent has caused and

will continue to cause Larada significant harm.




                                      23
          Case 3:18-cv-00320-GCM Document 1 Filed 06/20/18 Page 23 of 26
                              PRAYER FOR RELIEF

      WHEREFORE, Larada respectfully asks this Court to enter a judgment in

Larada’s favor as follows:

      71.    Declaring that Defendants have infringed the Patents-in-Suit;

      72.    Declaring that Defendants’ infringement of the Patents-in-Suit was

willful, and that Larada is entitled to treble damages pursuant to 35 U.S.C. § 284;

      73.    Awarding Larada damages adequate to compensate for Defendants’

infringing activities, including supplemental damages for any post-verdict

infringement up until entry of the final judgment with an accounting as needed,

together with prejudgment and post-judgment interest on the damages awarded; all

of these damages to be enhanced in an amount up to treble the amount of

compensatory damages as justified under 35 U.S.C. § 284;

      74.    Preliminarily and permanently enjoining Defendants and their

officers, agents, directors, employees, parents, subsidiaries, affiliates, divisions,

successors, assigns, and all persons in privity or active concert or participation with

them, from infringing the Patents-in-Suit;

      75.    Directing that Defendants destroy or deliver to Larada all documents,

materials, and things, including but not limited to products, advertising and




                                   24
       Case 3:18-cv-00320-GCM Document 1 Filed 06/20/18 Page 24 of 26
promotional materials, sales and marketing plans, and the like, which infringe the

Patents-in-Suit, or otherwise violate Plaintiffs’ rights in the Patents-in-Suit;

      76.     Declaring that this case is exceptional under 35 U.S.C. § 285

and awarding Larada its reasonable costs and expenses of litigation, including

attorneys’ and experts’ fees; and

      77.     Awarding Larada such other relief as the Court may deem just and

proper.

                          DEMAND FOR JURY TRIAL

      78.     Larada demands a trial by jury as to all claims and all issues properly

triable thereby.

Dated: June 20, 2018                         Respectfully submitted,

                                              /s/ Phoebe Norton Coddington

                                              Phoebe Norton Coddington
                                              NC Bar No. 35218
                                              Scott S. Addison
                                              NC Bar No. 35117
                                              Lincoln Derr PLLC
                                              4350 Congress Street, Suite 575
                                              Charlotte, North Carolina 28209
                                              Telephone: 704.496.4500
                                              Facsimile: 866.393.6043
                                              Email:
                                              phoebe.coddington@lincolnderr.com
                                              scott.addison@lincolnderr.com



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          Case 3:18-cv-00320-GCM Document 1 Filed 06/20/18 Page 25 of 26
                                Richard W. Miller (GA 065257)
                                (pro hac vice forthcoming)
                                D. Alan White (GA 410546)
                                (pro hac vice forthcoming)
                                Ballard Spahr LLP
                                999 Peachtree St. NE, Suite 1000
                                Atlanta, GA 30309
                                Phone: 678.420.9300
                                Fax: 678.420.9301
                                millerrw@ballardspahr.com
                                whiteda@ballardspahr.com

                                Attorneys for Plaintiff Larada Sciences,
                                Inc.




                            26
Case 3:18-cv-00320-GCM Document 1 Filed 06/20/18 Page 26 of 26
